Case 2:20-cv-07908-PSG-LAL Document 20 Filed 04/26/21 Page 1 of 1 Page ID #:1711




   1
   2                                                                     JS-6
   3
   4
   5
   6
                                  UNITED STATES DISTRICT COURT
   7
                                 CENTRAL DISTRICT OF CALIFORNIA
   8
   9
  10   ANGELO CORREA,                                   Case No. LACV 20-7908-PSG (LAL)

  11                                  Petitioner,       JUDGMENT
  12                        v.

  13   R. JOHNSON,

  14                                     Respondent.

  15
  16
  17          Pursuant to the Order Accepting Report and Recommendation of United States
  18   Magistrate Judge,
  19          IT IS ADJUDGED that the Petition is denied and this action is dismissed with prejudice.
  20
  21
                  4/26/21
       DATED: _________________                     _________________________________________
  22                                                HONORABLE PHILIP S. GUTIERREZ
  23                                                UNITED STATES DISTRICT JUDGE

  24
  25
  26
  27
  28
